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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                                 Case No. 4:19-cr-00275-DCN-1
        Plaintiff,
                                                 MEMORANDUM DECISION AND
                                                 ORDER
  v.


  NATHAN EARL RAY,

        Defendant.


                                  I. INTRODUCTION

       Pending before the Court is Defendant’s Motion for Discovery. Dkt. 147. Upon

review, and for the reasons set forth below, the Court DENIES the Motion for Discovery.

                                  II. BACKGROUND

       Nathan Earl Ray signed a Rule 11 Plea Agreement on July 12, 2021. He later filed

a Motion to Withdraw Guilty Plea, claiming that it was “just” for this motion to be granted

because: (1) he was forced into pleading guilty by his previous counsel’s allegedly

inadequate representation; (2) the Court had denied Ray’s prior Motion to Compel

Evidence and a Motion to Continue; and (3) his previous counsel had lied in a motion to

the courts by claiming that Ray wanted more time to negotiate more plea deals. Dkt. 125.

This motion was filed by Ray without the assistance of counsel. Notably, Ray offered no

evidence whatsoever to support his allegations. The government opposed. Dkt. 127. In

Ray’s Reply, this time filed by counsel, Ray also argued that his consent to proceed by



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Zoom at the change of plea hearing was invalid because the inquiry by the Court was

inadequate. Dkt. 135, at 4. Ray’s counsel then filed a motion to amend and indicated to the

Court that Ray claimed to have newly discovered evidence. The Court then granted the

motion to amend and allowed time for Ray to file an amended motion to withdraw his

guilty plea, with both the Zoom argument that had been added to his Reply and any newly

discovered evidence.

        However, the process of Ray filing an amended motion to withdraw his guilty plea

has been delayed by Ray’s issue with counsel. Defendant Nathan Earl Ray has had seven

attorneys.1 The Court recently allowed his latest attorney, Manuel Murdoch, to withdraw

after Ray filed a bar complaint against him. Dkt. 144. Ray is now proceeding pro se. Dkt.

148. Representing himself, with the deadline for the amended motion to withdraw his guilty

plea looming, Ray filed the present motion stating in its entirety, “I hereby request that the

Government identify, disclose, and produce any and all information, documents, evidence,

and materials discoverable under Rule 16 of the federal Rules of Criminal Procedure.” Dkt.

147, at 2.

                                    III. LEGAL STANDARD

        A criminal defendant is entitled to inspect and copy documents in the government's

possession if those documents are “material to preparing the defense.” Fed. R. Crim. P.

16(a)(1)(E)(i). To secure discovery under Rule 16(a)(1)(E), the defendant carries the




1
 For a more detailed description of Ray’s charge and a timeline of all the attorneys that have represented
Ray, please see this Court’s previous Memorandum Decision and Order (Dkt. 139).


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burden of demonstrating materiality. United States v. Little, 753 F.2d 1420, 1445 (9th Cir.

1984); see also United States v. Budziak, 697 F.3d 1105, 1111 (9th Cir. 2012) (“A

defendant must make a ‘threshold showing of materiality’ in order to compel discovery

pursuant to Rule 16(a)(1)(E).” (citation omitted)). Generally speaking, evidence is material

under Rule 16 if it is relevant to the development of a possible defense. Id.

       However, in order to compel discovery under Rule 16, the defendant must make a

“threshold showing of materiality, which requires a presentation of facts which would tend

to show that the Government is in possession of information helpful to the defense.” United

States v. Stever, 603 F.3d 747, 752 (9th Cir. 2010); see also United States v. Sai Keung

Wong, 886 F.2d 252, 255–57 (9th Cir. 1989) (“The burden of proof is on the defendants to

show need for the disclosure. . . . The mere suspicion that information will prove helpful

is insufficient to require disclosure.”). “Neither a general description of the information

sought nor conclusory allegations of materiality will suffice; a defendant must present facts

that would tend to show that the Government is in possession of information helpful to the

defense.” Budziak, 697 F.3d at 1111–12 (citation omitted).

       Other district courts have concluded that a defendant’s attempt to generally cast for

impeachment materials does not satisfy the materiality requirement. See, e.g., United States

v. Liquid Sugars, 158 F.R.D. 466, 471 (E.D. Cal. 1994). As one court explained, “[s]uch

requests are simply speculative inquiries without basis in fact to believe that the

information acquired will be significantly helpful.” Id. at 472. Once a defendant has

demonstrated materiality, “the district court should not merely defer to government

assertions that discovery would be fruitless. . . . [C]riminal defendants should not have to


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rely solely on the government’s word that further discovery is unnecessary.” Budziak, 697

F.3d at 1112–13.

                                   IV. DISCUSSION

       Before delving into why the substance of Ray’s motion is unavailing, there is a

procedural reason for denying the motion: it was untimely. Ray has already signed a guilty

plea, and the only issue remaining before sentencing is whether Ray can withdraw his

guilty plea. Ray has already filed a Motion to Withdraw Plea of Guilty (Dkt. 125), and he

added more arguments in the Reply to the Government’s Response (Dkt. 128). At this

point, Ray has a deadline of December 17, 2021, to file his amended motion to withdraw

his guilty plea. Dkt. 148, at 7.

       It has been represented to the Court that Ray has newly discovered evidence to

present in support of his Motion to Withdraw Plea of Guilty. Dkt. 142, at 1–2 (“Mr.

Murdoch met with Defendant to review his claim that he has newly discovered evidence

to present in support of his motion to withdraw his guilty plea”). Additionally, the stated

purpose of granting Ray leave to amend his motion to withdraw his guilty plea was “to

include an argument that he should be allowed to withdraw his guilty plea because his

consent to proceed with the change of plea hearing by Zoom was invalid because the

court’s questioning in that regard was inadequate.” Dkt. 136, at 1. Ray does not need any

discovery materials from the government in order to (1) present evidence he claimed to

already have or (2) include the argument about appearing by Zoom, which is already in

Ray’s Reply brief (Dkt. 135).

       Ray’s assumption of responsibility for his own legal representation did not restart


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the judicial proceedings. The Court is not going back to the discovery stage. In the event

that the Court grants Ray’s Motion to Withdraw Plea of Guilty (or grants a future amended

motion), the Court will then discuss any future discovery disputes.

       Substantively, Ray has not met his burden to show that the government has material

information. He has not pointed to any specific evidence that the government has, or even

to any specific categories of evidence. Ray simply demanded discovery. The vagueness of

his request for discovery is insufficient to meet the threshold standard for materiality

required to grant Ray’s motion.

       Finally, Ray has not provided the Court with any newly discovered evidence to

support his motion to withdraw his guilty plea. If he has such evidence, there is no need to

conduct discovery against the government. He can simply file that evidence with his

amended motion to withdraw guilty plea. If he does not have such evidence, he cannot

engage in a fishing expedition at this late stage in the process in the hopes of obtaining

newly discovered evidence.

       As such, the Court DENIES Ray’s Motion for Discovery.

                                       V. ORDER

The Court HEREBY ORDERS:

       1. Ray’s Motion for Discovery (Dkt. 147) is DENIED.

                                                 DATED: December 3, 2021


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge


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